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 UNITED STATES DISTRICT COURT                                  EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA,                         '
                                                   '
                        Plaintiff,                 '
                                                   '
 v.                                                '           CIVIL ACTION NO. 1:15-CR-17-1
                                                   '
 DEREK CORNELIUS BRISCOE                           '
                                                   '
                        Defendant.                 '

                     ORDER ADOPTING REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        On September 17, 2015, the United States magistrate judge filed his report recommending

 that the court grant the Taxing Authorities’ petition in interest (Doc. No. 123). This report was

 based on the parties’ Notice of Stipulation agreeing to forfeiture and a valid interest in the land by

 the Taxing Authorities. (Doc. No. 124.) Neither party has filed objections to the report and

 recommendation. Accordingly, it is ORDERED that the Taxing Authorities’ petition in interest

 is GRANTED.
         .
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.

           SIGNED at Plano, Texas, this 6th day of October, 2015.




                                                ________________________________________
                                                            MARCIA A. CRONE
                                                     UNITED STATES DISTRICT JUDGE
